                                          Case 2:15-cv-01331-DJH Document 244 Filed 11/28/18 Page 1 of 8


                                     1   Pavneet Singh Uppal, SBN 016805
                                         Alanna R. Brook, SBN 028018
                                     2   FISHER & PHILLIPS LLP
                                     3   3200 N. Central Avenue, Suite 805
                                         Phoenix, Arizona 85012-2407
                                     4   Telephone: (602) 281-3400
                                     5   Fax: (602) 281-3401
                                         puppal@fisherphillips.com
                                     6   abrook@fisherphillips.com
                                     7
                                         Attorneys for Plaintiffs
                                     8
                                                                    UNITED STATES DISTRICT COURT
                                     9
                                                                        DISTRICT OF ARIZONA
                                    10
                                    11    Swisher Hygiene Franchise Corp.; et al.,   No. CV-15-1331-PHX-DJH
3200 N. Central Avenue, Suite 805




                                    12                         Plaintiffs,           PLAINTIFFS’ REPLY TO DAVID
  Phoenix, Arizona 85012-2407




                                                                                     BARTON, KATYA LANCERO AND
    FISHER & PHILLIPS LLP




                                    13           v.                                  BURNSBARTON PLC’S RESPONSE
         (602) 281-3400




                                    14                                               TO PLAINTIFFS’ MOTION FOR
                                          Troy Clawson and Teri Clawson, husband     ADDITIONAL SANCTIONS
                                    15    and wife; et al.,

                                    16                         Defendants.
                                    17
                                    18
                                    19
                                    20
                                    21
                                    22
                                    23
                                    24
                                    25
                                    26
                                    27
                                    28


                                         DocNumber
                                         FPDOCS 34752162.1
                                          Case 2:15-cv-01331-DJH Document 244 Filed 11/28/18 Page 2 of 8


                                     1
                                                Currently pending before the Court is Plaintiffs’ Motion for Additional Sanctions at Doc.
                                     2
                                         225. The factual and procedural predicate is already part of the record, and Plaintiffs will not
                                     3
                                         waste the Court’s time with a lengthy summary. Suffice it to say that on October 15, 2018,
                                     4
                                         following three separate days of evidentiary hearing, the Court issued a written order finding,
                                     5
                                         inter alia, that “Plaintiff has presented substantial and compelling evidence that demonstrates
                                     6
                                         serious misconduct by Defendants and their counsel.” (Doc. 222, p.24) (emphasis added).
                                     7   I.     Former Defense Counsel Continue To Cover Up And Deny Accountability For
                                                Their Misconduct.
                                     8
                                                Although former defense counsel denigrate the Court’s decision by asserting that it “is
                                     9
                                         inaccurate and contrary to the record,” their Response does not contain a single citation to the
                                    10
                                         record in this case. Instead, it relies exclusively on Barton and Lancero’s declarations. (Doc.
                                    11
                                         238). The declarations are replete with statements that Barton and Lancero were not willing
3200 N. Central Avenue, Suite 805




                                    12
  Phoenix, Arizona 85012-2407
    FISHER & PHILLIPS LLP




                                         to make on the witness stand and attempt to minimize their fraud by claiming that they
                                    13
         (602) 281-3400




                                         “consulted with ethics attorneys.” (See id., e.g., at p.5:22-25). Tellingly, the ethics counsel
                                    14
                                         who allegedly guided Barton and Lancero were apparently unwilling to provide any
                                    15
                                         declarations of their own.1 (See id., e.g. at p.6:2-5).
                                    16
                                                The Court has already determined by “clear and convincing evidence that Ms. Lancero
                                    17
                                         and Mr. Barton facilitated and continued to cover up Clawson’s fraud and their own
                                    18
                                         irresponsible conduct.” (Doc. 222, p.23). This fraud encompassed, but was not limited to, the
                                    19
                                         submission of a false, albeit sworn, statement which represented to the Court that a Southern
                                    20
                                         Arizona Plan (“SAP”) had never been “formulat[ed].” (Doc. 53, at p.3). After difficult, time
                                    21
                                    22   consuming, and expensive electronic discovery revealed the existence of the SAP, attorneys

                                    23   Barton and Lancero continued to insist on the witness stand that the SAP was never

                                    24   “formulated.” Even when presented with a physical copy of the SAP, both Barton and Lancero

                                    25   continued to claim under oath that the three page plan containing the identities and pricing for

                                    26
                                         1
                                           Notably, one of the ethics counsel, Mark Harrison, is a member of Osborn Maledon and was
                                    27   previously identified as counsel for Barton and Lancero. (Doc. 201). What Barton and Lancero
                                         claim to have been told by outside ethics counsel is pure hearsay and unreliable. F.R.C.P. 801.
                                    28   Should any of these experts later surface to offer opinions regarding former counsel’s conduct,
                                         such testimony must be subject to cross examination.

                                                                                          1
                                         Case 2:15-cv-01331-DJH Document 244 Filed 11/28/18 Page 3 of 8



                                     1   over ninety customers was just “words on a page” and “never formulated.” (See March 2, 2018
                                     2   Transcript at 35:17–36:23; March 15, 2018 Transcript at 80:02-17; 108:03–109:17; and March
                                     3   22, 2018 Transcript at 244:24-16, excerpts attached as Exs. A, B, and C respectively).
                                     4          Now, in response to Plaintiffs’ motion for sanctions, former defense counsel belatedly
                                     5   claim that Lancero “testified incorrectly that she knew about the SAP in June 2016 when
                                     6   preparing the response to the first sanctions motion.” (Doc. 238, p.5). According to former
                                     7   counsel, “Mr. Barton and Ms. Lancero immediately realized that Ms. Lancero had misspoken”
                                     8   and “Mr. Barton corrected the record through his own testimony and made clear he was doing
                                     9   so.” (Id. (emphasis added)). Setting aside that Lancero testified repeatedly that Clawson had
                                    10   told her that the SAP was “words on a page” at some point “prior to the Southern Arizona
                                    11   Plan being disclosed to us [by Plaintiffs]” (Ex. A at pp.33:01–35:16 (emphasis added); 56:18–
3200 N. Central Avenue, Suite 805




                                    12   57:15), undersigned counsel was unable to locate a single instance in the Court transcript where
  Phoenix, Arizona 85012-2407
    FISHER & PHILLIPS LLP




                                    13   Barton “made clear” that “Ms. Lancero had misspoken” or that he was “correcting” her
         (602) 281-3400




                                    14   testimony. (Ex. B., e.g., at pp.91:18-24; 93:16–94:5). Furthermore, to the extent Barton
                                    15   contends that Lancero misremembered the events and “testified incorrectly,” he lacks the
                                    16   necessary knowledge and foundation and cannot through his own testimony “correct”
                                    17   Lancero’s sworn testimony to the contrary. (Ex. A at p.37:05-10 (“…Mr. Barton wasn’t
                                    18   there.”)). Although she allegedly was ill on the second day of the hearing, Lancero could easily
                                    19   have appeared at the final day of the hearing and testified under oath (subject to cross-
                                    20   examination) that she had been mistaken in her former testimony. She did not do so, and Barton
                                    21   and Lancero’s argument regarding so called mistaken testimony is nothing more than a
                                    22   continuation of their efforts to defraud the Court and Plaintiffs.
                                    23          Rather than accepting responsibility for their misconduct, former defense counsel continue
                                    24   to advance a litany of spurious arguments. Due to the page limitations of this reply, set forth below
                                    25   is a chart contrasting a few of the more egregious arguments raised by former defense counsel in
                                    26   their Response against the relevant portions of the record. Most tellingly, former defense counsel
                                    27   have nothing to say about their central argument that the SAP was “not formulated” because it was
                                    28   “words on a page.” Plaintiffs respectfully submit that there is no end to the amount or type of

                                                                                          2
                                         Case 2:15-cv-01331-DJH Document 244 Filed 11/28/18 Page 4 of 8



                                     1   evidence that can be withheld if attorneys are allowed to engage in this type of fraudulent
                                     2   wordsmithing – because literally every document is comprised of “words on a page.”
                                     3        Location(s)     Representation Controverting reference(s)
                                         1.   Response:       Former defense - On February 22, 2018, Plaintiffs’ counsel informed
                                     4        pp.5:04-13,     counsel was    former defense counsel in writing that counsel “intend[ed]
                                              7:12-17         surprised and  to call [them] both to testify” at the hearing (email attached
                                     5                                       as Ex. D). Former counsel did not seek a protective order.
                                                              blindsided to be
                                              Barton Dec:     called at the  - Former counsel did not advance this claim at the
                                     6        ¶¶ 38-39;       hearing.       hearing. (See Ex. A at e.g. pp. 5:19–13:03.)
                                                                             - On April 6, 2017, Plaintiffs argued that the attorney-
                                     7        Lancero Dec:                   client privilege had been waived and that they should be
                                              ¶ 24.                          permitted to depose defense counsel. (Doc. 124.)
                                     8                                       - On February 16, 2018, Plaintiffs’ filed a motion in
                                                                             limine arguing that Defendants should be precluded
                                     9                                       from arguing that the false statement that Clawson never
                                                                             formulated the SAP was attributable to counsel “unless
                                    10                                       and until Plaintiffs [we]re permitted to question defense
                                                                             counsel under oath.” (Doc. 157.)
                                    11                                       - Day 1 of the hearing took place on March 2, 2018.
                                                                             The second day was March 15, 2018, and the third
3200 N. Central Avenue, Suite 805




                                    12                                       March 22, 2018. Any alleged surprise on March 2, 2018
  Phoenix, Arizona 85012-2407
    FISHER & PHILLIPS LLP




                                                                             was no longer present at subsequent proceedings.
                                    13
                                         2.   Response:    Had former        - See references supra in row 1.
         (602) 281-3400




                                    14        pp. 7:14-16  counsel known     - Even indulging this false claim of surprise at the first
                                                           that they would day of proceedings, former defense counsel fail to
                                    15                     be called to      explain why they elected to proceed on days two and
                                                           testify, they     three without counsel.
                                    16                     would have        - “[I]mmediately” after the first day of the hearing,
                                                           hired their own   former counsel claim to have consulted with three ethics
                                    17                     counsel.          attorneys. (Response, at p.5:22-25; Barton Dec. at ¶ 42;
                                                                             Lancero Dec. at ¶ 29).
                                    18   3.   Response:    Former counsel - Ms. Lancero testified that “it was the e-mail that Mr.
                                              pp.3:20-28;  assert that their Clawson sent to Mr. Zall … that prompted our
                                    19        4:13-23;     use of the word discussion” and Mr. Clawson told her that the SAP was
                                                           “finished”        “words on a page” “prior to the Southern Arizona Plan
                                    20        Lancero Dec: instead of        being disclosed [by Plaintiffs’ counsel]” (Ex. A at
                                              ¶¶ 18, 21-26 “formulated” did pp.33:01–35:16; 56:18–57; Ex. C at 263-267).
                                    21                     not refer to what
                                                           they knew at the
                                    22                     time they drafted
                                                           the response to
                                    23                     the first motion
                                                           for sanctions.
                                    24   4.   Response:    Former defense - See references supra in row 3
                                              pp.3:20–     counsel had no    - On April 19, 2016, Clawson met with counsel
                                    25        4:12;        indication that a (including Barton) at Quarles & Brady to discuss his
                                                           SAP existed until email to Zall regarding the SAP. (Doc. 186, pp.189:08–
                                    26        Barton Dec.: January 2017.     192:09 (under seal); Barton Dec. ¶16).
                                              ¶¶ 29-31                       - On August 31, 2016, former defense counsel
                                    27
                                                                             proposed having their own expert image and search
                                    28

                                                                                        3
                                          Case 2:15-cv-01331-DJH Document 244 Filed 11/28/18 Page 5 of 8


                                               Lancero                           Clawson’s laptop and limiting the search only to “user-
                                     1         Dec.: ¶¶ 17-                      accessible files.” (Doc. 142-3, attached as Ex. E.)
                                               18                                - On September 6, 2016, former counsel represented
                                     2                                           to Plaintiffs’ counsel that “Defendants have searched for
                                                                                 ESI responsive to Swisher’s discovery requests.” (Id.)
                                     3                                           - On December 28, 2017 Plaintiffs’ counsel sent an
                                                                                 email to former defense counsel advising that the initial
                                     4                                           review of Clawson’s laptop indicated that documents
                                                                                 were missing from Clawson’s laptop and that he had
                                     5                                           been actively using Swisher’s confidential and/or trade
                                                                                 secret information and documents after his resignation
                                     6                                           from Swisher (See email chain attached as Ex. F).
                                     7   5.    Barton Dec:  “[Clawson]           - Former defense counsel fail to explain how Clawson
                                               ¶8           could not afford     could afford to pay their legal fees but not for an expert
                                     8                      to hire a forensic   to create an image of his computer. Indeed, Cardwell
                                               Lancero Dec: expert”              charges only $250.00 per hour for his work.
                                     9         ¶7                                (FORENTECH 00003, attached as Ex. G).
                                                                                 - Former counsel assumed joint representation of the
                                    10                                           Defendants on or around May 2016 (Doc. 43) and
                                                                                 Defendants hired a computer expert prior to providing
                                    11                                           any equipment to Plaintiffs’ expert. (Ex. E).
                                         II.     Defendants’ Fraud And Counsel’s Facilitation Thereof Permeated These Proceedings.
3200 N. Central Avenue, Suite 805




                                    12
  Phoenix, Arizona 85012-2407
    FISHER & PHILLIPS LLP




                                    13           Former defense counsel argue that there is no “causal link” between their facilitation
         (602) 281-3400




                                    14   of Defendants’ fraud upon the Court and the sanctions sought against them. (Doc. 238,

                                    15   pp.1:13-14; 9:10–10:25). In actuality, Defendants’ and their attorneys’ “entire course of

                                    16   conduct throughout the lawsuit evidenced bad faith and an attempt to perpetrate a fraud on

                                    17   the court.” Chambers v. NASCO, Inc., 501 U.S. 32, 51 (1991). Defendants’ misconduct so

                                    18   permeated these proceedings that “the but-for standard even permits a trial court to shift all of

                                    19   [Swisher’s] fees, from either the start or some midpoint of [the] suit, in one fell swoop.”

                                    20   Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1187 (2017).

                                    21           It cannot be overlooked that Defendants’ misconduct started almost from the outset of

                                    22   the litigation and could not have occurred without the facilitation of counsel. Clawson’s

                                    23   signed the “perjured Affidavit” on July 31, 2015 (Doc. 21-1), less than two-months after he

                                    24   claims to have created the plans. (Doc. 53).Yet, the perjured affidavit was not “corrected”

                                    25   until April 27, 2016. (Doc. 42). Even then, Defendants, through their counsel, continued to

                                    26   hide the existence of the SAP and refused to produce relevant, responsive, and discoverable

                                    27   information. (See, e.g., Docs. 60, 67, 113, 158). In other words, from the August 4, 2015 filing

                                    28   of the “patently false” sworn statement that Clawson had “not identified any Swisher

                                                                                        4
                                         Case 2:15-cv-01331-DJH Document 244 Filed 11/28/18 Page 6 of 8



                                     1   customers that ACS should go after” onward (Doc. 222, p.6), the expenses incurred in this
                                     2   litigation “would not have been incurred except for the misconduct.” See Goodyear, 137 S.
                                     3   Ct. at 1188 (entire litigation was “‘part of [Defendants’] sordid scheme’ to defeat a valid
                                     4   claim” that was facilitated by their counsel) (quoting Chambers, 501 U.S. at 51).
                                     5          Defendants’ scheme was only uncovered because of the substantial time, effort, and expense
                                     6   undertaken by Plaintiffs. As the Court notes, “had Plaintiffs not engaged Mr. Cardwell, the Southern
                                     7   Arizona Plan and what was contained therein may never have been discovered.” (Doc. 222, p.14).
                                     8   However, had the Defendants and their counsel complied with their discovery obligations to
                                     9   “preserve[] and turn[] over” discoverable evidence as required by Rule 26, it is highly likely that
                                    10   preliminary injunction would have been granted and/or this case would have been positioned for a
                                    11   reasonable settlement without the necessity of three years of protracted litigation. (See id. at pp.21-
3200 N. Central Avenue, Suite 805




                                    12   23.) Rather than ensuring their clients’ good-faith compliance with the Rules of Civil Procedure,
  Phoenix, Arizona 85012-2407
    FISHER & PHILLIPS LLP




                                    13   former defense counsel instead “left [Mr. Clawson] to his own determination of how [the] imaging
         (602) 281-3400




                                    14   of his computer should take place, what he should do with it.” [Ex. C. at 266-267.]
                                    15          Nevertheless, Plaintiffs are not seeking all their fees in this matter, but only those fees
                                    16   incurred after the Defendants’ August 4, 2015 filing of their answers and objection to the
                                    17   application for preliminary injunction, and then at a reduced amount. All fees and costs
                                    18   associated with the initial investigation into the potential claims, as well as the drafting and
                                    19   filing of the complaint have been omitted. Plaintiffs respectfully submit that had Defendants
                                    20   faced a plaintiff who was unable or unwilling to expend the significant resources necessary to
                                    21   uncover the fraud, the egregious misconduct of Defendants and their former counsel would
                                    22   not have been proven and their fraudulent scheme would have succeeded. See Goodyear Tire,
                                    23   137 S. Ct. at 1189 (award of all attorneys’ fees appropriate when misconduct “so permeate[s]
                                    24   the suit as to make that misconduct a but-for cause of every subsequent legal expense”).
                                    25
                                    26
                                    27
                                    28

                                                                                           5
                                         Case 2:15-cv-01331-DJH Document 244 Filed 11/28/18 Page 7 of 8



                                     1        RESPECTFULLY SUBMITTED this 28th day of November 2018.
                                     2                                    FISHER & PHILLIPS LLP
                                     3                                    By: s/ Alanna R. Brook
                                     4                                         Pavneet Singh Uppal
                                                                               Alanna R. Brook
                                     5                                         3200 N. Central Avenue, Suite 805
                                     6                                         Phoenix, Arizona 85012-2407
                                                                               Attorneys for Plaintiffs
                                     7
                                     8
                                     9
                                    10
                                    11
3200 N. Central Avenue, Suite 805




                                    12
  Phoenix, Arizona 85012-2407
    FISHER & PHILLIPS LLP




                                    13
         (602) 281-3400




                                    14
                                    15
                                    16
                                    17
                                    18
                                    19
                                    20
                                    21
                                    22
                                    23
                                    24
                                    25
                                    26
                                    27
                                    28

                                                                             6
                                         Case 2:15-cv-01331-DJH Document 244 Filed 11/28/18 Page 8 of 8



                                     1                               CERTIFICATE OF SERVICE
                                     2         I hereby certify that on November 28, 2018, I electronically transmitted the attached
                                     3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
                                     4   Notice of Electronic Filing to the following CM/ECF registrant(s):
                                     5
                                     6   William G. Klain
                                         George H. King
                                     7   David C. Turnbull
                                     8   LANG & KLAIN, P.C.
                                         8767 E. Via de Commercio, Suite 102
                                     9   Scottsdale, AZ 85258
                                         Attorneys for Defendants Clawson
                                    10
                                    11   Andrew Abraham
                                         Ralph D. Harris
3200 N. Central Avenue, Suite 805




                                    12   BURCH & CRACCHIOLO, P.A.
  Phoenix, Arizona 85012-2407
    FISHER & PHILLIPS LLP




                                         702 E. Osborn Road, Suite 200
                                    13
                                         Phoenix, AZ 85014
         (602) 281-3400




                                    14   Attorneys for Accurate Chemical Acquisition, Inc.
                                    15   Geoffrey M.T. Sturr
                                    16   Jeffrey Molinar
                                         OSBORN MALEDON, P.A.
                                    17   2929 North Central Avenue
                                         21st Floor
                                    18
                                         Phoenix, Arizona 85012
                                    19   Attorneys for David Barton, Katya Lancero and BurnsBarton LLP
                                    20
                                    21   s/ Michelle C. Colwell

                                    22
                                    23
                                    24
                                    25
                                    26
                                    27
                                    28

                                                                                     7
